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                   UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                      JACKSONVILLE DIVISION



     TAKOYA DOMINIC CRINER,


                                          CASE NO.: 3:21-cv-1160-TJC-LLL

     SEC., FLA. DEPARTMENT
     OFCORRECTIONS, (FDC),




                     FDC EXHIBIT 1
              - DOCKET - - 2002-CF-6549-DUVAL
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              DEFENDANT: CRINER, TAKOYA – 2002-CF-6549 - DUVAL

                                         Disposition
      Case Number           Filed Date                  County            Case Type                         Status    Contested
                                            Date
162002CF006549AXXXMA
                            06/14/2002   06/16/2005     DUVAL           Circuit Criminal                DISPOSED         No
  [162002CF006549AXXXMA]


         Charge Seq #                    Description                   Date                         Phase              Trial

               1                MURDER - FIRST DEGREE                06/16/2005            Court:Adjudicated Guilty   No Trial
               2                MURDER - FIRST DEGREE                06/16/2005            Court:Adjudicated Guilty   No Trial
               3                MURDER - FIRST DEGREE                06/16/2005            Court:Adjudicated Guilty   No Trial


                        Party Name                               Party Type                            Attorney        Bar ID

       BORELLO, MARK JEFFREY                           JUDGE
       Hamrick, Joseph S                               DEFENDANT ATTORNEY
       Skinner, Daniel E                               ASSIST STATE'S ATTORNEY
       CRINER, TAKOYA D                                DEFENDANT                              SKINNER, DANIEL E       108324




                                                                 1
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Dockets
                                                                    10
                                                     Page : 1 FPN
          Doc    Action
 Image                                                               Description                                Pages
           #      Date
                             MANDATE FROM APPELLATE COURT AFFIRMED ; 1D20-3208 BOOK 20023 PAGE 654-656;
          827   11/19/2021                                                                                      3
                             AFFIRMED ; 1D20-3208
          825   11/06/2020   RECORD ON APPEAL E-FILED TO DCA
          824   11/06/2020   APPEAL INDEX ; 1D20-3208; ; 1D20-3208                                              2
          823   11/05/2020   DCA ACKNOWLEDGMENT RECEIPT ; 1D20-3208; ; 1D20-3208                                1
          822   11/02/2020   DIRECTIONS TO CLERK                                                                2
                             NOTICE OF APPEAL TO DISTRICT COURT (FEE OUTSTANDING) BOOK 19438 PAGE 676-677;
          821   11/02/2020                                                                                      2
                             D
                             ORDER DISMISSING DEFENDANTS AMENDED/SECOND MOTION TO CORRECT ILLEGAL
          820   10/15/2020                                                                                      87
                             SENTENCING - 3.800(A)
                             DCA ORDER ARTICLE I, SECTION 16(B)(10)B, FOR REPORTING PURPOSES ONLY; 1D19-2939;
          819   10/15/2020                                                                                      2
                             ARTICLE I, SECTION 16(B)(10)B, FOR REPORTING PURPOSES ONLY; 1D19-2939
                             ORDER DENYING DEFENDANTS MOTION FOR REHEARING ON ORDER DENYING RULE
          818   10/14/2020   3.800(A) MOTION, MOTION TO VACATE SAID ORDER, AND MOTION TO ACCEPT                 35
                             3.800(A)MOTION FILED TODAY AS AMENDMENT TO INITIAL 3.800(A) MOTION
          817   10/06/2020   MOTION TO CORRECT ILLEGAL SENTENCE - 3.800(A) - AMENDED/SECOND                     159
                             MOTION FOR REHEARING ON ORDER DENYING RULE 3.800(A) MOTION, MOTION TO
                             VACATE SAID ORDER, AND MOTION TO ACCEPT 3.800(A) MOTION FILED TODAY AS
          816   10/06/2020                                                                                      155
                             AMENDMENT TO INITAL 3.800(A) MOTION; ON ORDER DENYING RULE 3.800(A) MOTION,
                             MOTION TO VACATE SAID ORDER, AND MOTION
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                             MANDATE FROM APPELLATE COURT AFFIRMED; 1D19-2939 BOOK 19400 PAGE 1113-1115;
          814   10/06/2020                                                                                      3
                             AFFIRMED; 1D19-2939
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        812   09/30/2020   MOTION TO CORRECT ILLEGAL SENTENCE - 3.800(A)                                       21
        811   09/08/2020   NOTICE OF APPEARANCE HAMRICK, JOSEPH STEWART; 47049                                 1
        810   08/24/2020   ORDER RELEASING EVIDENCE AND PROPERTY                                               1
        809   08/24/2020   ORDER RELEASING EVIDENCE AND PROPERTY                                               1
        808   08/19/2020   PER JA EMAIL; PER JA EMAIL                                                          4
                           STATUS HEARING 08/24/2020 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST JACKSONVILLE
        807   08/19/2020
                           FL 32202; 51; 08/24/2020; 174; 9:00 AM
        806   07/31/2020   MOTION AND PROPOSED ORDER TO RELEASE EVIDENCE                                       2
        804   01/23/2020   RECORD ON APPEAL E-FILED TO DCA
        803   01/23/2020   SUPPLEMENTAL RECORD OF APPEAL 2 (1D19-2939); 2 (1D19-2939)                          1
        802   01/17/2020   INDEX & RECORD OF APPEAL VOLUMES II TO X (1D05-3139); VOLUMES II TO X (1D05-3139)   1446
        801   01/16/2020   Directions to Clerk or Court Reporter (Supplemental)                                1
        800   01/09/2020   1ST DCA ORDER TO SUPPLEMENT RECORD OF APPEAL 1D19-2939; 1D19-2939                   1
        798   11/19/2019   RECORD ON APPEAL E-FILED TO DCA
        797   11/19/2019   SUPPLEMENTAL RECORD OF APPEAL 1D19-2939; 1D19-2939                                  191
        796   06/15/2018   STATE EXHIBITS FILED #1; #1                                                         1
        795   06/15/2018   DEFENSE EXHIBITS #5; #5                                                             144
        794   06/15/2018   DEFENSE EXHIBITS #4; #4                                                             8
        793   06/15/2018   DEFENSE EXHIBITS #3; #3                                                             7
        792   06/15/2018   DEFENSE EXHIBITS #2; #2                                                             22
        791   06/15/2018   DEFENSE EXHIBITS # 1; # 1                                                           3
        790   11/07/2019   Directions to Clerk or Court Reporter (Supplemental)                                1
        789   11/05/2019   1ST DCA ORDER TO SUPPLEMENT RECORD OF APPEAL                                        1

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        788   08/15/2019   RECORD ON APPEAL E-FILED TO DCA
        787   08/15/2019   INDEX & RECORD OF APPEAL 1D19-2939; 1D19-2939                                    331
        785   08/12/2019   DCA ACKNOWLEDGMENT RECEIPT 1D19-2939; 1D19-2939                                  1
        784   08/09/2019   NOTICE OF APPEAL TO DISTRICT COURT BOOK 18895 PAGE 2334-2334                     1
                           ORDER DENYING DEFENDANT'S SECOND AMENDED 3.850 MOTION FOR
        783   07/18/2019                                                                                    5
                           POSTCONVICTION RELIEF
        782   01/15/2019   RECEIPT FOR CIVIL PROCESS, JAIL, WARRANTS                                        1
        781   01/15/2019   COURT ORDER OF INMATE RETURN; OF INMATE RETURN                                   1
                           MOTION -- DEFENDANT'S SECOND AMENDED 3.850 MOTIONFOR POST-CONVICTION
        780   01/14/2019   RELIEF - DENIED, ORDER TO BE ENTERED.; -- DEFENDANT'S SECOND AMENDED 3.850
                           MOTIONFOR POST-CONVICTION RELIEF - DENIED, ORDER TO BE ENTERED.
        779   01/14/2019   DEFENDANT PRESENT IN JAIL; IN JAIL
        778   01/14/2019   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        777   01/14/2019   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        776   01/14/2019   JUDGE BORELLO, MARK; 10100; JUDGE
                           RULING ON MOTION 01/14/2019 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        775   01/07/2019
                           JACKSONVILLE FL 32202; 34; 01/14/2019; 174; 9:00 AM
        774   01/07/2019   OTHERS PRESENT: D. MAIRS FOR R. SICHTA; OTHERS PRESENT: D. MAIRS FOR R. SICHTA
        773   01/07/2019   DEFENDANT PRESENT IN JAIL; IN JAIL
        772   01/07/2019   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        771   01/07/2019   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        770   01/07/2019   JUDGE BORELLO, MARK; 10100; JUDGE
                           RULING ON MOTION 01/07/2019 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        769   12/03/2018
                           JACKSONVILLE FL 32202; 34; 01/07/2019; 174; 9:00 AM

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        Doc    Action
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        768   12/03/2018   DEFENDANT PRESENT IN JAIL; IN JAIL
        767   12/03/2018   ATTY. FOR DEF. HAMRICK, JOSEPH STEWART; 109360
        766   12/03/2018   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        765   12/03/2018   JUDGE BORELLO, MARK; 10100; JUDGE
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        764   11/14/2018   POSTCONVICTION RELIEF; TO DEFENDANT'S SECOND AMENDED MOTION FOR               13
                           POSTCONVICTION RELIEF
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        763   11/14/2018                                                                                 36
                           SUPPORT OF 3.850 MOTION (DEFENDANT'S POST-HEARING)
        762   11/16/2018   PER J.A. E-MAIL.; PER J.A. E-MAIL.
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        761   11/16/2018
                           JACKSONVILLE FL 32202; 157; 12/03/2018; 174; 9:00 AM
        760   11/16/2018   > CANCEL REASON - NEW COURT DATE SET; CANCEL REASON - NEW COURT DATE SET
                           CANCELLED STATUS CONFERENCE ON 11/20/2018 9:00:00 AM; CANCELLED STATUS
        759   11/16/2018
                           CONFERENCE ON 11/20/2018 9:00:00 AM
                           (11/14 DEADLINE FOR MEMO OF LAW) PER JA E-MAIL; (11/14 DEADLINE FOR MEMO OF
        758   10/30/2018                                                                                 1
                           LAW) PER JA E-MAIL
                           STATUS CONFERENCE 11/20/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        757   10/30/2018
                           JACKSONVILLE FL 32202; 157; 11/20/2018; 174; 9:00 AM
        756   10/30/2018   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS CONFERENCE ON 11/6/2018 9:00:00 AM; CANCELLED STATUS
        755   10/30/2018
                           CONFERENCE ON 11/6/2018 9:00:00 AM
        754   09/28/2018   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS CONFERENCE ON 10/1/2018 9:00:00 AM; CANCELLED STATUS
        753   09/28/2018
                           CONFERENCE ON 10/1/2018 9:00:00 AM


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                           (10/31 DEADLINE FOR MEMO OF LAW) PER JA E-MAIL; (10/31 DEADLINE FOR MEMO OF
        752   09/26/2018                                                                                    1
                           LAW) PER JA E-MAIL
                           STATUS CONFERENCE 11/06/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        751   09/26/2018
                           JACKSONVILLE FL 32202; 157; 11/06/2018; 174; 9:00 AM
        750   09/10/2018   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS HEARING ON 9/12/2018 9:00:00 AM; CANCELLED STATUS HEARING
        749   09/10/2018
                           ON 9/12/2018 9:00:00 AM
                           (DEADLINE FOR WRITTEN MEMORANDUMS 9/30) PER JA E-MAIL; (DEADLINE FOR
        748   09/10/2018                                                                                    1
                           WRITTEN MEMORANDUMS 9/30) PER JA E-MAIL
                           STATUS CONFERENCE 10/01/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        747   09/10/2018
                           JACKSONVILLE FL 32202; 157; 10/01/2018; 174; 9:00 AM
                           (DEADLINE FOR WRITTEN MEMORANDUMS 8/13/18) PER JA E-MAIL; (DEADLINE FOR
        746   08/07/2018                                                                                    1
                           WRITTEN MEMORANDUMS 8/13/18) PER JA E-MAIL
                           STATUS HEARING 09/12/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST JACKSONVILLE
        745   08/07/2018
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        744   08/07/2018   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS CONFERENCE ON 8/13/2018 9:00:00 AM; CANCELLED STATUS
        743   08/07/2018
                           CONFERENCE ON 8/13/2018 9:00:00 AM
                           TESTIMONY & PROCEEDINGS OF JUNE 15,2018 BEFORE THE HONORABL JUDGE MARK
        742   07/12/2018                                                                                    203
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        741   06/19/2018   AFFIDAVIT/RETURN OF SERVICE                                                      3
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        739   06/15/2018
                           MEMORANDUMS 8/13/18)
                           STATUS CONFERENCE 08/13/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        738   06/15/2018
                           JACKSONVILLE FL 32202; 157; 08/13/2018; 174; 9:00 AM
        737   06/15/2018   CLERKS EXHIBIT MEMO                                                              1

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        736   06/15/2018   CLERKS MEMO OF HEARING - FILED; - FILED                                      1
                           MOTION - - DEFENDANT'S SECOND AMENDED 3.850 MOTION FOR POST-CONVICTION
                           RELIEF HEARD IN FULL AND UNDER ADVISEMENT. ORDER TO BE ENTERED.; - -
        735   06/15/2018
                           DEFENDANT'S SECOND AMENDED 3.850 MOTION FOR POST-CONVICTION RELIEF HEARD
                           IN FULL AND UNDER ADVISEMENT. ORDER TO BE
        734   06/15/2018   OTHERS PRESENT: DEFENSE: RICK SICHTA; OTHERS PRESENT: DEFENSE: RICK SICHTA
        733   06/15/2018   DEFENDANT PRESENT IN JAIL; IN JAIL
        732   06/15/2018   ATTY. FOR DEF. HAMRICK, JOSEPH STEWART; 109360
        731   06/15/2018   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        730   06/15/2018   JUDGE BORELLO, MARK; 10100; JUDGE
        729   06/12/2018   AFFIDAVIT/RETURN OF SERVICE                                                  2
        728   06/12/2018   AFFIDAVIT/RETURN OF SERVICE                                                  2
        727   06/12/2018   AFFIDAVIT/RETURN OF SERVICE                                                  2
        726   06/13/2018   SUBPOENA FOR HEARING (EVIDENITARY HEARING); (EVIDENITARY HEARING)            3
        725   02/12/2018   (TO BE SET); (TO BE SET)
                           EVIDENTIARY HEARING 06/15/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        724   02/12/2018
                           JACKSONVILLE FL 32202; 275; 06/15/2018; 174; 9:00 AM
        723   02/12/2018   DEFENDANT PRESENT IN JAIL; IN JAIL
        722   02/12/2018   ATTY. FOR DEF. HAMRICK, JOSEPH STEWART; 109360
        721   02/12/2018   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        720   02/12/2018   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 02/12/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        719   02/05/2018
                           JACKSONVILLE FL 32202; 157; 02/12/2018; 174; 9:00 AM
        718   02/05/2018   DEFENDANT PRESENT IN JAIL; IN JAIL

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         #      Date
        717   02/05/2018   ATTY. FOR DEF. HAMRICK, JOSEPH STEWART; 109360
        716   02/05/2018   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        715   02/05/2018   JUDGE BORELLO, MARK; 10100; JUDGE
        714   12/08/2017   (TO BE SET) PER JA E-MAIL; (TO BE SET) PER JA E-MAIL
        713   12/08/2017   (TO BE SET); (TO BE SET)
                           EVIDENTIARY HEARING 02/05/2018 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        712   12/08/2017
                           JACKSONVILLE FL 32202; 275; 02/05/2018; 174; 9:00 AM
        711   12/08/2017   > CANCEL REASON - PER JA E-MAIL; CANCEL REASON - PER JA E-MAIL
                           CANCELLED EVIDENTIARY HEARING ON 12/11/2017 9:00:00 AM; CANCELLED
        710   12/08/2017
                           EVIDENTIARY HEARING ON 12/11/2017 9:00:00 AM
        709   10/19/2017   (TO BE SET); (TO BE SET)
                           EVIDENTIARY HEARING 12/11/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        708   10/19/2017
                           JACKSONVILLE FL 32202; 275; 12/11/2017; 174; 9:00 AM
        707   10/19/2017   DEFENDANT APPEARANCE WAIVED
        706   10/19/2017   DEFENDANT PRESENT IN JAIL; IN JAIL
        705   10/19/2017   ATTY. FOR DEF. HAMRICK, JOSEPH STEWART; 109360
        704   10/19/2017   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        703   10/19/2017   JUDGE BORELLO, MARK; 10100; JUDGE
        702   10/17/2017   PER JA E-MAIL; PER JA E-MAIL                                                     1
                           STATUS HEARING 10/19/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST JACKSONVILLE
        701   10/17/2017
                           FL 32202; 51; 10/19/2017; 174; 9:00 AM
        700   05/23/2017   AFFIDAVIT/RETURN OF SERVICE                                                      2
        699   05/23/2017   AFFIDAVIT/RETURN OF SERVICE                                                      2
        698   05/23/2017   AFFIDAVIT/RETURN OF SERVICE                                                      3

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        Doc    Action
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         #      Date
        697   05/22/2017   AFFIDAVIT/RETURN OF SERVICE                                                       2
        696   05/16/2017   > CANCEL REASON - PER JA E-MAIL; CANCEL REASON - PER JA E-MAIL                    1
                           CANCELLED EVIDENTIARY HEARING ON 5/19/2017 9:00:00 AM; CANCELLED
        695   05/16/2017
                           EVIDENTIARY HEARING ON 5/19/2017 9:00:00 AM
        694   05/09/2017   DEFENDANT’S SECOND AMENDED 3.850 MOTION FOR POSTCONVICTION RELIEF                 30
                           EVIDENTIARY HEARING 05/19/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        693   04/05/2017
                           JACKSONVILLE FL 32202; 275; 05/19/2017; 174; 9:00 AM
                           OTHERS PRESENT: J. HAMRICK FOR R. SICHTA; OTHERS PRESENT: J. HAMRICK FOR R.
        692   04/05/2017
                           SICHTA
        691   04/05/2017   DEFENDANT PRESENT IN JAIL; IN JAIL
        690   04/05/2017   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        689   04/05/2017   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        688   04/05/2017   JUDGE BORELLO, MARK; 10100; JUDGE
                           COURT ORDER FOR PRODUCTION OF MEDICAL EXAMINER RECORDS; FOR PRODUCTION
        687   03/08/2017                                                                                     1
                           OF MEDICAL EXAMINER RECORDS
                           5/19/17 HEARING ON MOTION (1 TO 2 FULL DAYS); 5/19/17 HEARING ON MOTION (1 TO 2
        686   03/08/2017
                           FULL DAYS)
                           STATUS CONFERENCE 04/05/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        685   03/08/2017
                           JACKSONVILLE FL 32202; 157; 04/05/2017; 174; 9:00 AM
                           OTHER --- ORDER FOR PRODUCTION OF MEDICAL EXAMINER RECORDS ENTERED.; ---
        684   03/08/2017
                           ORDER FOR PRODUCTION OF MEDICAL EXAMINER RECORDS ENTERED.
                           OTHERS PRESENT: J. HAMRICK FOR R. SICHTA; OTHERS PRESENT: J. HAMRICK FOR R.
        683   03/08/2017
                           SICHTA
        682   03/08/2017   DEFENDANT PRESENT IN JAIL; IN JAIL
        681   03/08/2017   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084

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        680   03/08/2017   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        679   03/08/2017   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 03/08/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        678   02/16/2017
                           JACKSONVILLE FL 32202; 157; 03/08/2017; 174; 9:00 AM
                           OTHERS PRESENT: J. HAMRICK FOR R. SICHTA; OTHERS PRESENT: J. HAMRICK FOR R.
        677   02/16/2017
                           SICHTA
        676   02/16/2017   DEFENDANT APPEARANCE WAIVED
        675   02/16/2017   DEFENDANT PRESENT IN JAIL; IN JAIL
        674   02/16/2017   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        673   02/16/2017   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        672   02/16/2017   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 02/16/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        671   02/07/2017
                           JACKSONVILLE FL 32202; 157; 02/16/2017; 174; 9:00 AM
        670   02/07/2017   DEFENDANT APPEARANCE WAIVED
        669   02/07/2017   DEFENDANT PRESENT IN JAIL; IN JAIL
        668   02/07/2017   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        667   02/07/2017   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        666   02/07/2017   JUDGE BORELLO, MARK; 10100; JUDGE
        665   01/16/2017   MOTION FOR LEAVE TO FILE AMENDED 3.850 MOTION                                 35
                           STATUS CONFERENCE 02/07/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        664   01/17/2017
                           JACKSONVILLE FL 32202; 157; 02/07/2017; 174; 9:00 AM
                           OTHERS PRESENT: J. HAMRICK FOR R. SICHTA; OTHERS PRESENT: J. HAMRICK FOR R.
        663   01/17/2017
                           SICHTA
        662   01/17/2017   DEFENDANT APPEARANCE WAIVED

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        Doc    Action
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         #      Date
        661   01/17/2017   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        660   01/17/2017   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        659   01/17/2017   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 01/17/2017 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        658   11/01/2016
                           JACKSONVILLE FL 32202; 157; 01/17/2017; 174; 9:00 AM
        657   11/01/2016   DEFENDANT APPEARANCE WAIVED
        656   11/01/2016   DEFENDANT PRESENT IN JAIL; IN JAIL
        655   11/01/2016   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        654   11/01/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        653   11/01/2016   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 11/01/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        652   09/19/2016
                           JACKSONVILLE FL 32202; 157; 11/01/2016; 174; 9:00 AM
        651   09/19/2016   DEFENDANT APPEARANCE WAIVED
        650   09/19/2016   DEFENDANT PRESENT IN JAIL; IN JAIL
        649   09/19/2016   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        648   09/19/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        647   09/19/2016   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 09/19/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        646   08/22/2016
                           JACKSONVILLE FL 32202; 157; 09/19/2016; 174; 9:00 AM
        645   08/22/2016   DEFENDANT APPEARANCE WAIVED
        644   08/22/2016   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        643   08/22/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        642   08/22/2016   JUDGE BORELLO, MARK; 10100; JUDGE


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        Doc    Action
Image                                                           Description                                   Pages
         #      Date
        641   08/11/2016   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS HEARING ON 8/15/2016 9:00:00 AM; CANCELLED STATUS HEARING
        640   08/11/2016
                           ON 8/15/2016 9:00:00 AM
        639   08/11/2016   PER JA E-MAIL; PER JA E-MAIL                                                       1
                           HEARING ON MOTION (TO BE SET) 08/22/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        638   08/11/2016
                           JACKSONVILLE FL 32202; 156; 08/22/2016; 174; 9:00 AM
        637   06/27/2016   (EVIDENTIARY HEARING); (EVIDENTIARY HEARING)
                           STATUS HEARING 08/15/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST JACKSONVILLE
        636   06/27/2016
                           FL 32202; 51; 08/15/2016; 174; 9:00 AM
                           OTHERS PRESENT: JOSEPH HAMRICK FOR S. SICHTA; OTHERS PRESENT: JOSEPH
        635   06/27/2016
                           HAMRICK FOR S. SICHTA
        634   06/27/2016   DEFENDANT PRESENT IN JAIL; IN JAIL
        633   06/27/2016   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        632   06/27/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        631   06/27/2016   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS HEARING 06/27/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST JACKSONVILLE
        630   06/13/2016
                           FL 32202; 51; 06/27/2016; 174; 9:00 AM
                           OTHERS PRESENT: M. CHARBULA FOR D. SKINNER; OTHERS PRESENT: M. CHARBULA
        629   06/13/2016
                           FOR D. SKINNER
        628   06/13/2016   DEFENDANT APPEARANCE WAIVED
        627   06/13/2016   DEFENDANT NOT PRESENT
        626   06/13/2016   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        625   06/13/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        624   06/13/2016   JUDGE BORELLO, MARK; 10100; JUDGE


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        Doc    Action
Image                                                           Description                          Pages
         #      Date
        623   05/12/2016   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS CONFERENCE ON 5/16/2016 9:00:00 AM; CANCELLED STATUS
        622   05/12/2016
                           CONFERENCE ON 5/16/2016 9:00:00 AM
        621   05/12/2016   PER JA E-MAIL; PER JA E-MAIL                                              2
                           HEARING ON MOTION 06/13/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        620   05/12/2016
                           JACKSONVILLE FL 32202; 28; 06/13/2016; 174; 9:00 AM
        619   04/07/2016   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS CONFERENCE ON 4/11/2016 9:00:00 AM; CANCELLED STATUS
        618   04/07/2016
                           CONFERENCE ON 4/11/2016 9:00:00 AM
        617   04/07/2016   PER JA E-MAIL; PER JA E-MAIL                                              3
                           STATUS CONFERENCE 05/16/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        616   04/07/2016
                           JACKSONVILLE FL 32202; 157; 05/16/2016; 174; 9:00 AM
                           STATUS CONFERENCE 04/11/2016 9:00 AM - 306 3RD FLOOR, 501 W ADAMS ST
        615   02/29/2016
                           JACKSONVILLE FL 32202; 157; 04/11/2016; 174; 9:00 AM
        614   02/29/2016   DEFENDANT PRESENT IN JAIL; IN JAIL
        613   02/29/2016   ATTY. FOR DEF. SICHTA, RICHARD ADAM; 121084
        612   02/29/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        611   02/29/2016   JUDGE BORELLO, MARK; 10100; JUDGE
                           STATUS CONFERENCE 02/29/2016 9:00 AM - 308 3RD FLOOR, 501 W ADAMS ST
        610   01/14/2016
                           JACKSONVILLE FL 32202; 157; 02/29/2016; 176; 9:00 AM
        609   01/14/2016   DEFENDANT NOT PRESENT
        608   01/14/2016   ATTY. FOR DEF. SICHTA, SUSANNE KAYE; 135000
        607   01/14/2016   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        606   01/14/2016   JUDGE BORELLO, MARK; 10100; JUDGE


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        Doc    Action
Image                                                              Description                              Pages
         #      Date
                           STATUS HEARING 01/14/2016 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        605   12/15/2015
                           FL 32202; 51; 01/14/2016; 225; 9:00 AM
        604   12/15/2015   DEFENDANT PRESENT IN JAIL; IN JAIL
        603   12/15/2015   ATTY. FOR DEF. SICHTA, SUSANNE KAYE; 135000
        602   12/15/2015   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        601   12/15/2015   JUDGE COOPER, MALLORY; 125; JUDGE
                           STATUS HEARING 12/15/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        600   10/14/2015
                           FL 32202; 51; 12/15/2015; 225; 9:00 AM
        599   10/14/2015   DEFENDANT PRESENT IN JAIL; IN JAIL
        598   10/14/2015   ATTY. FOR DEF. SICHTA, SUSANNE KAYE; 135000
        597   10/14/2015   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        596   10/14/2015   JUDGE COOPER, MALLORY; 125; JUDGE
        595   10/06/2015   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS HEARING ON 10/7/2015 9:00:00 AM; CANCELLED STATUS HEARING
        594   10/06/2015
                           ON 10/7/2015 9:00:00 AM
        593   10/06/2015   3.850// PER JA E-MAIL; 3.850// PER JA E-MAIL                                     1
                           STATUS HEARING 10/14/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        592   10/06/2015
                           FL 32202; 51; 10/14/2015; 225; 9:00 AM
        591   09/30/2015   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS HEARING ON 10/1/2015 9:00:00 AM; CANCELLED STATUS HEARING
        590   09/30/2015
                           ON 10/1/2015 9:00:00 AM
        589   09/30/2015   3.850// PER JA E-MAIL; 3.850// PER JA E-MAIL                                     1
                           STATUS HEARING 10/07/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        588   09/30/2015
                           FL 32202; 51; 10/07/2015; 225; 9:00 AM


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        Doc    Action
Image                                                           Description                                 Pages
         #      Date
        587   09/28/2015   NOTICE OF DISCOVERY                                                              1
        586   09/28/2015   MOTION FOR STATEMENT OF PARTICULARS                                              1
        585   08/20/2015   NOTICE OF APPEARANCE                                                             1
        584   08/17/2015   3.850; 3.850
                           STATUS HEARING 10/01/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        583   08/17/2015
                           FL 32202; 51; 10/01/2015; 225; 9:00 AM
                           OTHERS PRESENT: ASA: B. MERENESS FOR D. SKINNER; OTHERS PRESENT: ASA: B.
        582   08/17/2015
                           MERENESS FOR D. SKINNER
        581   08/17/2015   DEFENDANT PRESENT IN JAIL; IN JAIL
        580   08/17/2015   ATTY. FOR DEF. SICHTA, SUSANNE KAYE; 135000
        579   08/17/2015   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        578   08/17/2015   JUDGE COOPER, MALLORY; 125; JUDGE
        577   08/14/2015   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED STATUS HEARING ON 8/19/2015 9:00:00 AM; CANCELLED STATUS HEARING
        576   08/14/2015
                           ON 8/19/2015 9:00:00 AM
                           3.850: AND NOTICE OF APPEARANCE, PER JA E-MAIL; 3.850: AND NOTICE OF
        575   08/14/2015                                                                                    1
                           APPEARANCE, PER JA E-MAIL
                           STATUS HEARING 08/17/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        574   08/14/2015
                           FL 32202; 51; 08/17/2015; 225; 9:00 AM
        573   08/13/2015   > CANCEL REASON - PER JUDGE; CANCEL REASON - PER JUDGE
                           CANCELLED HEARING ON 3.850 MOTION ON 8/14/2015 9:00:00 AM; CANCELLED HEARING
        572   08/13/2015
                           ON 3.850 MOTION ON 8/14/2015 9:00:00 AM
        571   08/13/2015   3.850; 3.850
                           STATUS HEARING 08/19/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        570   08/13/2015
                           FL 32202; 51; 08/19/2015; 225; 9:00 AM

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        Doc    Action
Image                                                            Description                                  Pages
         #      Date
        569   04/30/2015   @ 10:00 AM; @ 10:00 AM
                           HEARING ON 3.850 MOTION 08/14/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        568   04/30/2015
                           JACKSONVILLE FL 32202; 120; 08/14/2015; 225; 9:00 AM
                           > DEFENSE ATTORNEY APPEARED BY TELEPHONE; DEFENSE ATTORNEY APPEARED BY
        567   04/30/2015
                           TELEPHONE
        566   04/30/2015   DEFENDANT PRESENT IN JAIL; IN JAIL
        565   04/30/2015   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        564   04/30/2015   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        563   04/30/2015   JUDGE COOPER, MALLORY; 125; JUDGE
                           > CANCEL REASON - PER JA PHONE CALL PRIOR TO COURT; CANCEL REASON - PER JA
        562   04/13/2015
                           PHONE CALL PRIOR TO COURT
                           CANCELLED HEARING ON MOTION (TO BE SET) ON 4/13/2015 9:00:00 AM; CANCELLED
        561   04/13/2015
                           HEARING ON MOTION (TO BE SET) ON 4/13/2015 9:00:00 AM
                           STATUS HEARING 04/30/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        560   04/13/2015
                           FL 32202; 51; 04/30/2015; 225; 9:00 AM
        559   03/05/2015   > CANCEL REASON - PER EMAIL; CANCEL REASON - PER EMAIL                             1
                           CANCELLED HEARING ON 3.850 MOTION ON 3/9/2015 9:00:00 AM; CANCELLED HEARING
        558   03/05/2015
                           ON 3.850 MOTION ON 3/9/2015 9:00:00 AM
        557   03/05/2015   ( POSSIBLE DTC/HOM 04/17/15 AT 10:30); ( POSSIBLE DTC/HOM 04/17/15 AT 10:30)
                           HEARING ON MOTION (TO BE SET) 04/13/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        556   03/05/2015
                           JACKSONVILLE FL 32202; 156; 04/13/2015; 225; 9:00 AM
        555   11/24/2014   TBS; TBS
                           HEARING ON 3.850 MOTION 03/09/2015 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        554   11/24/2014
                           JACKSONVILLE FL 32202; 120; 03/09/2015; 225; 9:00 AM
        553   11/24/2014   DEFENDANT NOT PRESENT - FSP; - FSP

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        Doc    Action
Image                                                           Description                                 Pages
         #      Date
        552   11/24/2014   > TELEPHONICALLY; TELEPHONICALLY
        551   11/24/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        550   11/24/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        549   11/24/2014   JUDGE COOPER, MALLORY; 125; JUDGE
        548   09/09/2014   @ 1:30; @ 1:30
                           HEARING ON 3.850 MOTION 11/24/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        547   09/09/2014
                           JACKSONVILLE FL 32202; 120; 11/24/2014; 225; 9:00 AM
        546   09/09/2014   DEFENDANT PRESENT IN JAIL; IN JAIL
        545   09/09/2014   > TELEPHONICALLY; TELEPHONICALLY
        544   09/09/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        543   09/09/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        542   09/09/2014   JUDGE COOPER, MALLORY; 125
                           STATUS HEARING 09/09/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        541   09/02/2014
                           FL 32202; 51; 09/09/2014; 225; 9:00 AM
        540   09/02/2014   ATTORNEY NOT PRESENT; ATTORNEY NOT PRESENT
        539   09/02/2014   DEFENDANT NOT PRESENT
        538   09/02/2014   > ATTORNEY NOT PRESENT; Attorney Not Present
        537   09/02/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        536   09/02/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        535   09/02/2014   JUDGE COOPER, MALLORY; 125
                           HEARING ON 3.850 MOTION 09/02/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        534   08/07/2014
                           JACKSONVILLE FL 32202; 120; 09/02/2014; 225; 9:00 AM
        533   08/07/2014   TBS; TBS


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        Doc    Action
Image                                                           Description                                   Pages
         #      Date
        532   08/07/2014   DEFENDANT NOT PRESENT
        531   08/07/2014   > ATTY NOT PRESENT; ATTY NOT PRESENT
        530   08/07/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        529   08/07/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        528   08/07/2014   JUDGE COOPER, MALLORY; 125
        527   07/23/2014   > CANCEL REASON - PER EMAIL; CANCEL REASON - PER EMAIL                             1
                           CANCELLED HEARING ON MOTION (TO BE SET) ON 7/28/2014 9:00:00 AM; CANCELLED
        526   07/23/2014
                           HEARING ON MOTION (TO BE SET) ON 7/28/2014 9:00:00 AM
                           STATUS HEARING 08/07/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        525   07/23/2014
                           FL 32202; 51; 08/07/2014; 225; 9:00 AM
        524   05/14/2014   (TUES); (TUES)
                           HEARING ON MOTION (TO BE SET) 07/28/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        523   05/14/2014
                           JACKSONVILLE FL 32202; 156; 07/28/2014; 225; 9:00 AM
        522   05/14/2014   > FSP; FSP
        521   05/14/2014   DEFENDANT NOT PRESENT
        520   05/14/2014   > TELEPHONICALLY; TELEPHONICALLY
        519   05/14/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        518   05/14/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        517   05/14/2014   JUDGE COOPER, MALLORY; 125
                           STATUS HEARING 05/14/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        516   05/12/2014
                           FL 32202; 51; 05/14/2014; 225; 9:00 AM
        515   05/12/2014   DEFENDANT NOT PRESENT
        514   05/12/2014   > ATTORNEY NOT PRESENT; Attorney Not Present
        513   05/12/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037

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        Doc    Action
Image                                                           Description                                 Pages
         #      Date
        512   05/12/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        511   05/12/2014   JUDGE COOPER, MALLORY; 125
        510   04/28/2014   > CANCEL REASON - PER EMAIL; CANCEL REASON - PER EMAIL                           1
                           CANCELLED HEARING ON MOTION ON 5/2/2014 9:00:00 AM; CANCELLED HEARING ON
        509   04/28/2014
                           MOTION ON 5/2/2014 9:00:00 AM
        508   04/28/2014   TBS // PER EMAIL; TBS // PER EMAIL
                           HEARING ON MOTION 05/12/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        507   04/28/2014
                           JACKSONVILLE FL 32202; 28; 05/12/2014; 225; 9:00 AM
                           HEARING ON MOTION 05/02/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        506   01/27/2014
                           JACKSONVILLE FL 32202; 28; 05/02/2014; 225; 9:00 AM
        505   01/27/2014   > FSP; FSP
        504   01/27/2014   DEFENDANT NOT PRESENT
        503   01/27/2014   > TELEPHONICALLY; TELEPHONICALLY
        502   01/27/2014   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        501   01/27/2014   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        500   01/27/2014   JUDGE COOPER, MALLORY; 125
        499   10/31/2013   > CANCEL REASON - PER EMAIL; CANCEL REASON - PER EMAIL                           1
                           CANCELLED HEARING ON 3.850 MOTION ON 11/4/2013 9:00:00 AM; CANCELLED HEARING
        498   10/31/2013
                           ON 3.850 MOTION ON 11/4/2013 9:00:00 AM
        497   10/31/2013   PREV SET FOR 11/4/13; PREV SET FOR 11/4/13
                           STATUS HEARING 01/27/2014 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST JACKSONVILLE
        496   10/31/2013
                           FL 32202; 51; 01/27/2014; 225; 9:00 AM
        495   08/26/2013   TBS; TBS



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        Doc    Action
Image                                                             Description                             Pages
         #      Date
                           HEARING ON 3.850 MOTION 11/04/2013 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        494   08/26/2013
                           JACKSONVILLE FL 32202; 120; 11/04/2013; 225; 9:00 AM
        493   08/26/2013   DEFENDANT NOT PRESENT
        492   08/26/2013   > ATTORNEY NOT PRESENT; Attorney Not Present
        491   08/26/2013   ATTY. FOR DEF. DALEY, BERNARD F JR; 79037
        490   08/26/2013   ASST. STATE ATTY. SKINNER, DANIEL E; 62905
        489   08/26/2013   JUDGE COOPER, MALLORY; 125
        488   05/09/2013   > CANCEL REASON - PER EMAIL JA; CANCEL REASON - PER EMAIL JA
                           CANCELLED HEARING ON MOTION ON 5/13/2013 9:00:00 AM; CANCELLED HEARING ON
        487   05/09/2013
                           MOTION ON 5/13/2013 9:00:00 AM
        486   05/09/2013   TBS- PER EMAIL JA; TBS- PER EMAIL JA
                           HEARING ON 3.850 MOTION 08/26/2013 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        485   05/09/2013
                           JACKSONVILLE FL 32202; 120; 08/26/2013; 225; 9:00 AM
        484   02/27/2013   > CANCEL REASON - PER EMAIL J.A.; CANCEL REASON - PER EMAIL J.A.
                           CANCELLED HEARING ON 3.850 MOTION ON 3/11/2013 9:00:00 AM; CANCELLED HEARING
        483   02/27/2013
                           ON 3.850 MOTION ON 3/11/2013 9:00:00 AM
        482   02/27/2013   TBS // PREV SET FOR 3/11/13; TBS // PREV SET FOR 3/11/13
                           HEARING ON MOTION 05/13/2013 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        481   02/27/2013
                           JACKSONVILLE FL 32202; 28; 05/13/2013; 225; 9:00 AM
        480   11/26/2012   RECEIPT FOR CIVIL PROCESS, JAIL, WARRANTS                                      1
        479   11/26/2012   > & NOTICE OF HEARING; & NOTICE OF HEARING
        478   11/26/2012   ORDER TO TRANSPORT                                                             2
        477   11/16/2012   > CANCEL REASON -; CANCEL REASON -



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        Doc    Action
Image                                                          Description                                 Pages
         #      Date
                           CANCELLED HEARING ON 3.850 MOTION ON 2/19/2013 9:00:00 AM; CANCELLED HEARING
        476   11/16/2012
                           ON 3.850 MOTION ON 2/19/2013 9:00:00 AM
        475   11/16/2012   (TBS)//PER EMAIL MEMO; (TBS)//PER EMAIL MEMO                                    1
                           HEARING ON 3.850 MOTION 03/11/2013 9:00 AM - 605 6TH FLOOR, 501 W ADAMS ST
        474   11/16/2012
                           JACKSONVILLE FL 32202; 120; 03/11/2013; 225; 9:00 AM
        473   11/13/2012   TBS; TBS
                           HEARING ON 3.850 MOTION 02/19/2013 9:00 AM - 408 4TH FLOOR, 501 W ADAMS ST
        472   11/13/2012
                           JACKSONVILLE FL 32202; 120; 02/19/2013; 188; 9:00 AM
                           OTHERS PRESENT: MR. DALEY BY TELEPHONE; OTHERS PRESENT: MR. DALEY BY
        471   11/13/2012
                           TELEPHONE
        470   11/13/2012   DEFENDANT APPEARANCE WAIVED
        469   11/13/2012   ATTY. FOR DEF. DALEY, BERNARD F JR; 79037
        468   11/13/2012   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        467   11/13/2012   JUDGE COOPER, MALLORY; 125
        466   08/13/2012   ORDER STRIKING ORDER TO TRANSPORT; STRIKING ORDER TO TRANSPORT                  1
                           > CANCEL REASON - PER EMAIL FROM JA OF 8/7/12; CANCEL REASON - PER EMAIL FROM
        465   08/07/2012
                           JA OF 8/7/12
                           CANCELLED HEARING ON 3.850 MOTION ON 8/27/2012 9:00:00 AM; CANCELLED HEARING
        464   08/07/2012
                           ON 3.850 MOTION ON 8/27/2012 9:00:00 AM
        463   08/07/2012   SH; SH
                           HEARING ON 3.850 MOTION 11/13/2012 9:00 AM - 408 4TH FLOOR, 501 W ADAMS ST
        462   08/07/2012
                           JACKSONVILLE FL 32202; 120; 11/13/2012; 188; 9:00 AM
        461   05/16/2012   RECEIPT FOR CIVIL PROCESS, JAIL, WARRANTS                                       1
        460   05/15/2012   ORDER TO TRANSPORT                                                              2
        459   05/14/2012   > CANCEL REASON - PER EMAIL MEMO; CANCEL REASON - PER EMAIL MEMO

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        Doc    Action
Image                                                             Description                                         Pages
         #      Date
                           CANCELLED HEARING ON 3.850 MOTION ON 6/11/2012 9:00:00 AM; CANCELLED HEARING
        458   05/14/2012
                           ON 3.850 MOTION ON 6/11/2012 9:00:00 AM
        457   05/14/2012   PER EMAIL MEMO; PER EMAIL MEMO                                                             1
                           HEARING ON 3.850 MOTION 08/27/2012 9:00 AM - 408 4TH FLOOR, 501 W ADAMS ST
        456   05/14/2012
                           JACKSONVILLE FL 32202; 120; 08/27/2012; 188; 9:00 AM
        455   01/23/2012   TBS; TBS
                           HEARING ON 3.850 MOTION 06/11/2012 9:00 AM - 408 4TH FLOOR, 501 W ADAMS ST
        454   01/23/2012
                           JACKSONVILLE FL 32202; 120; 06/11/2012; 188; 9:00 AM
        453   01/23/2012   OTHERS PRESENT: MR. DALEY BY PHONE; OTHERS PRESENT: MR. DALEY BY PHONE
        452   01/23/2012   DEFENDANT NOT PRESENT
        451   01/23/2012   ATTY. FOR DEF. DALEY, BERNARD F; 79037
        450   01/23/2012   ASST. STATE ATTY. SKINNER, DANIEL E; 41069
        449   01/23/2012   JUDGE COOPER, MALLORY; 125
        448   12/21/2011   > 1D05-3139 RECORD DESTROYED; 1D05-3139 Record Destroyed
        447   11/07/2011   > CANCEL REASON -; CANCEL REASON -
                           CANCELLED HEARING ON 3.850 MOTION ON 11/21/2011 9:00:00 AM; CANCELLED HEARING
        446   11/07/2011
                           ON 3.850 MOTION ON 11/21/2011 9:00:00 AM
        445   11/07/2011   PER JA (EMAIL); PER JA (EMAIL)                                                             1
        444   11/07/2011   STATUS HEARING 01/23/2012 9:00 AM - 4 330 E BAY ST (CIRCUIT); 51; 01/23/2012; 4; 9:00 AM
        443   08/31/2011   @ 1:30PM; @ 1:30PM
        442   08/31/2011   @ 1:30PM; @ 1:30PM
                           HEARING ON 3.850 MOTION 11/21/2011 9:00 AM - 4 330 E BAY ST (CIRCUIT); 120; 11/21/2011;
        441   08/31/2011
                           4; 9:00 AM
        440   08/31/2011   DEFENDANT NOT PRESENT

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        439   08/31/2011   ATTY. FOR DEF. DALEY JR., BERNARD F.; 79037
        438   08/31/2011   ASST. STATE ATTY. SKINNER, DANIEL E.; 41069
        437   08/31/2011   JUDGE COOPER, MALLORY; 125
        436   08/09/2011   STATUS HEARING 08/31/2011 9:00 AM - 4 330 E BAY ST (CIRCUIT); 51; 08/31/2011; 4; 9:00 AM
        435   08/09/2011   DEFENDANT NOT PRESENT
        434   08/09/2011   ATTY. FOR DEF. DALEY JR., BERNARD F.; 79037
        433   08/09/2011   ASST. STATE ATTY. SKINNER, DANIEL E.; 41069
        432   08/09/2011   JUDGE COOPER, MALLORY; 125
        431   07/05/2011   STATUS HEARING 08/09/2011 9:00 AM - 4 330 E BAY ST (CIRCUIT); 51; 08/09/2011; 4; 9:00 AM
        430   07/05/2011   DEFENDANT NOT PRESENT
        429   07/05/2011   ATTY. FOR DEF. DALEY JR., BERNARD F.; 79037
        428   07/05/2011   ASST. STATE ATTY. SKINNER, DANIEL E.; 41069
        427   07/05/2011   JUDGE COOPER, MALLORY; 125
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                           GRANT A NEW TRIAL, AND DEMAND FOR EVIDENTIARY HEARING; Defendant's Amended
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        425   05/04/2011   STATUS HEARING 07/05/2011 9:00 AM - 4 330 E BAY ST (CIRCUIT); 51; 07/05/2011; 4; 9:00 AM
        424   05/04/2011   DEFENDANT NOT PRESENT
        423   05/04/2011   ATTY. FOR DEF. DALEY JR., BERNARD F.; 79037
        422   05/04/2011   ASST. STATE ATTY. SKINNER, DANIEL E.; 41069
        421   05/04/2011   JURY TRIAL HELD
        420   05/04/2011   JUDGE COOPER, MALLORY; 125


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        419   04/15/2011   PER JA (EMAIL); PER JA (EMAIL)                                                                 1
        418   04/15/2011   STATUS HEARING 05/04/2011 9:00 AM - 4 330 E BAY ST (CIRCUIT); 51; 05/04/2011; 4; 9:00 AM
                           MANDATE FROM APPELLATE COURT REVERSED AND REMANDED 1D10-6211 BOOK 15561
        417   04/04/2011                                                                                                  5
                           PAGE 1404-1408; Reversed And Remanded 1D10-6211
        416   11/29/2010   DCA ACKNOWLEDGMENT RECEIPT 1D10-6211; 1D10-6211                                                1
        415   11/23/2010   RECORD ON APPEAL E-FILED TO DCA 3.850; 3.850
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        411   11/18/2010   APPEALBK 15432 PAGES 2214-2216 BOOK 15432 PAGE 2214-2216; 1D10-3786 Granting Petition          3
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        410   11/01/2010   OPINION GRANTED 1D09-3786; Granted 1D09-3786                                                   2
                           OPINION FILES - PETITION FOR BELATED APPEAL; OPINION FILES - PETITION FOR
        409   10/29/2010                                                                                                  2
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        408   09/17/2010   PETITION FOR BELATED APPEAL 1D09-3786; Special Master's Report And Recommendation On           6
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        407   08/12/2010   PETITION FOR BELATED APPEAL SHOULD NOT BE GRANTED; State's Response To Order                   3
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                           Order Directing State Attorney To Sh


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        405   08/02/2010                                                                                                    4
                           STYLED) 1D09-3786; Order Appointing Special Master And Order Directing State Attorney To Show
                           Cause Why Petitionfor
                           DCA ORDER RELINQUISHING JURISDICTION FOR 60 DAYS AND DIRECTING THE CHIEF
                           JUDGE TO REAPPOINT THE SPECIAL MASTER AND TO DIRECT THEM TO ISSUE AN ORDER
        404   07/28/2010                                                                                                    32
                           TO SHOW CAUSE, 1D09-3786; Relinquishing Jurisdiction For 60 Days And Directing The Chief Judge
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        403   02/26/2010   FEBRUARY 22, 2010 1D09-3786; Granting Petitioner's Motion For Extension Of Time Filed February   1
                           22, 2010 1D09-3786
                           SPECIAL MASTER'S REPORT AND RECOMMENDATION ON PETITIONER'S PETITION FOR
        402   02/12/2010   BELATED APPEAL 1D09-3786; Special Master's Report And Recommendation On Petitioner's Petition    10
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        400   02/09/2010   ORDER TO BE ENTERED; Order To Be Entered
        399   02/09/2010   ARGUMENTS; Arguments
        398   02/09/2010   EVIDENTIARY HEARING HELD IN FULL; Evidentiary Hearing Held In Full
        397   02/09/2010   ATTY. FOR DEF. DALEY JR., BERNARD F.; 79037
        396   02/09/2010   ASST. STATE ATTY. SKINNER, DANIEL E.; 41069
        395   01/28/2010   RECEIPT FROM WARRANTS; Receipt From Warrants                                                     1
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        394   01/27/2010
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                           EVIDENTIARY HEARING 02/09/2010 2:00 PM - 59 FIFTH FLOOR COURTHOUSE COURT ROOM
        393   01/27/2010
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        392   01/27/2010                                                                                                    3
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        391   01/08/2010                                                                                                       46
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        388   04/07/2009                                                                                                       3
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        387   03/23/2009   MOT. TO VACATE JUDG. & SENT. (RULE 3.850)                                                           30
                           DEFENDANT'S SUPPLEMENT & ADDENDUM TO PENDING MOTION TO ENLARGE THE TWO
        386   01/13/2009   YEAR TIME PERIOD FOR FILING RULE 3.850 MOTION; Defendant's Supplement & Addendum To                 4
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                           > AND REQUEST TO STAY OR ENLARGE THE TWO YEAR TIME PERIOD FOR FILING HIS
        385   12/26/2008   MOTION FOR POST-CONVICTION RELIEF; And Request To Stay Or Enlarge The Two Year Time                 5
                           Period For Filing His Motion For Post-Conviction Relief
                           NOTICE OF PENDING MOTION TO RECALL MANDATE IN THE FIRST DISTRICT COURT OF
        384   12/26/2008
                           APPEAL; Of Pending Motion To Recall Mandate In The First District Court Of Appeal
                           ROA RETURNED FROM DCA APPEAL NO. 1D08-246 (3.850) , TWO VOLUMES STORED IN
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        382   08/14/2008   MANDATE FROM APPELLATE COURT AFFIRMED BOOK 14608 PAGE 727-728; Affirmed                             2
        381   06/23/2008   INQ FROM DEF; Inq From Def                                                                          2
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        380   06/03/2008
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        379   04/25/2008   INQ FROM DEF MOTHER; INQ FROM DEF MOTHER                                                            1

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        378   02/25/2008                                                                             4
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        377   01/22/2008   ACK LETTER(STYLED DCA); ACK LETTER(STYLED DCA)                            1
        376   01/16/2008   NOTICE OF APPEAL                                                          1
        375   01/11/2008   NOTICE OF APPEAL NOTICE OF APPEAL; NOTICE OF APPEAL                       1
        374   12/26/2007   ORDER DENYING MOTION FOR REHEARING; ORDER DENYING MOTION FOR REHEARING    2
        373   12/21/2007   ORDER DENYING MOTION FOR REHEARING; ORDER DENYING MOTION FOR REHEARING    2
        372   12/21/2007   ORDER DENYING MOTION TO DISMISS; ORDER DENYING MOTION TO DISMISS          4
        371   12/13/2007   NOTICE OF APPEAL                                                          4
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        370   12/10/2007                                                                             8
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        369   12/05/2007   MOT. TO DISMISS WITHOUT PREJUDICE; TO DISMISS WITHOUT PREJUDICE           2
        368   11/26/2007   ORDER DENYING MOT. TO VACATE JUDG. AND SENT.                              2
        367   11/08/2007   MOT. TO VACATE JUDG. & SENT. (RULE 3.850)                                 50
        366   11/08/2007   LETTER FROM DEFENDANT; LETTER FROM DEFENDANT                              1
        365   02/01/2007   IN BOX 899; IN BOX 899
        364   02/01/2007   RETURNED FROM DCA AND STORED; RETURNED FROM DCA AND STORED
        363   02/01/2007   ROA 1D05-3139 (9.200) 11 VOL.; ROA 1D05-3139 (9.200) 11 VOL.              1611
        362   12/29/2006   BK 13728 PG 301; BK 13728 PG 301
        361   12/29/2006   MANDATE FROM APPELLATE COURT A; A                                         4
        360   11/03/2006   OPINION FILE; OPINION FILE
        359   08/22/2005   DESIG. OF PUB. DEF. OF 2ND JUD. CIRCUIT TO HANDLE APPEAL                  1
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        357   06/24/2005   RECORDING NUMBER 05233578______________________; 05233578______________________
        356   06/24/2005   JUDGMENT & RESTITUTION ORDER BOOK 12573 PAGE 1144; 12573; 1144
        355   06/24/2005   RECORDING NUMBER 05233579______________________; 05233579______________________
        354   06/24/2005   JUDGMENT & RESTITUTION ORDER BOOK 12573 PAGE 1146; 12573; 1146
        353   06/24/2005   RECORDING NUMBER 05233582______________________; 05233582______________________
        352   06/24/2005   JUDGMENT & SENTENCE RECORDED BOOK 12573 PAGE 1152; 12573; 1152
        351   06/24/2005   RECORDING NUMBER 05233580______________________; 05233580______________________
        350   06/24/2005   JUDGMENT & RESTITUTION ORDER BOOK 12573 PAGE 1148; 12573; 1148
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        348   06/24/2005   NOTICE OF APPEAL                                                                  1
        347   06/24/2005   STATEMENT OF JUDICIAL ACTS TO BE REVIEWED                                         1
        346   06/24/2005   DESIGNATION TO COURT REPORTER                                                     3
        345   06/24/2005   NOTICE OF APPEARANCE                                                              1
        344   06/20/2005   DOCUMENTS TO RECORDING TRAY; DOCUMENTS TO RECORDING TRAY
        343   06/20/2005   COMMITMENT CHECKLIST SENT
        342   06/16/2005   PRE-SENT. INVESTIGATION REPORT SEALED ,
        341   06/16/2005   TRIAL; TRIAL
        340   06/16/2005   ORDER DENYING MOTION FOR NEW; ORDER DENYING MOTION FOR NEW
        339   06/16/2005   SENTENCING GUIDELINES                                                             2
        338   06/16/2005   [3]; [3]
        337   06/16/2005   JUDGMENT AND RESTITUTION ORDER [F.S.775.089]                                      6
        336   06/16/2005   ORDER OF INSOL. & APPT. OF COUNSEL FOR PUR.OF APPEAL                              1
        335   06/16/2005   CSTF IMPOSED 20.00; CSTF; IMPOSED; 20.00
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        334   06/16/2005   AACC IMPOSED 65.00; AACC; IMPOSED; 65.00
        333   06/16/2005   LGTF IMPOSED 200.00; LGTF; IMPOSED; 200.00
        332   06/16/2005   F/M COSTS IMPOSED 50.00; F/M COSTS; IMPOSED; 50.00
        331   06/16/2005   L E E A IMPOSED 3.00; L E E A; IMPOSED; 3.00
        330   06/16/2005   10 DAYS; 10 DAYS
        329   06/16/2005   AS TO AMENDED MOTIONS FOR; AS TO AMENDED MOTIONS FOR
        328   06/16/2005   COURT RESERVES JURISDICTION; COURT RESERVES JURISDICTION
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        326   06/16/2005   AS TO COUNTS 1,2,& 3,; AS TO COUNTS 1,2,& 3,
        325   06/16/2005   EACH COUNT. 25 YEAR MIN/MAND; EACH COUNT. 25 YEAR MIN/MAND
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        322   06/16/2005   DEF. ADJUDGED GUILTY - FINGERPRINTS TAKEN
        321   06/16/2005   CONTINUE DENIED; CONTINUE DENIED
        320   06/16/2005   DEFT'S ORAL MOTION TO; DEFT'S ORAL MOTION TO
        319   06/16/2005   ATTY. FOR DEF. TOM FALLIS & G. FALLIS; TOM FALLIS & G. FALLIS
        318   06/16/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        317   05/24/2005   MOT. FOR NEW TRIAL                                                        3
        316   05/16/2005   STRIKE FROM CALENDAR; STRIKE FROM CALENDAR
        315   05/16/2005   ATTY. FOR DEF. TOM FALLIS AND G. FALLIS; TOM FALLIS AND G. FALLIS
        314   05/16/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        313   05/14/2005   EVIDENCE MONEY; EVIDENCE MONEY                                            1
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        310   05/14/2005   SENTENCE DEFERRED 06/16/2005 7 09:00 00; SENTENCE DEFERRED; 06/16/2005; 7; 09:00; 00
        309   05/14/2005   DEF. PRESENT
        308   05/14/2005   PSI ORDERED; PSI ORDERED
        307   05/14/2005   BOND REVOKED/DEFT. REMANDED; BOND REVOKED/DEFT. REMANDED
        306   05/14/2005   JURY OUT 4:15 P.M.; JURY OUT 4:15 P.M.
        305   05/14/2005   JURY IN:10:40 A.M.; JURY IN:10:40 A.M.
        304   05/14/2005   ALT. JUROR DISCHARGED; ALT. JUROR DISCHARGED
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        300   05/14/2005   CLERKS EXHIBIT MEMO                                                                    5
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        298   05/14/2005   AS CHARGED; AS CHARGED
        297   05/14/2005   VERDICT- GUILTY; GUILTY                                                                6
        296   05/14/2005   ATTY. FOR DEF. G. FALLIS & T. FALLIS; G. FALLIS & T. FALLIS
        295   05/14/2005   AND D. SKINNER; AND D. SKINNER
        294   05/14/2005   ASST. STATE ATTY. MIZRAHI, ALAN; 4; 1009; MIZRAHI; ALAN
        293   05/13/2005   PASSED 05/14/2005 7 10:00 00; PASSED; 05/14/2005; 7; 10:00; 00
        292   05/13/2005   CLOSING ARGUMENTS MADE IN FULL; CLOSING ARGUMENTS MADE IN FULL
        291   05/13/2005   DENIED.; DENIED.
        290   05/13/2005   FOR JUDGMENT OF ACQUITAL-; FOR JUDGMENT OF ACQUITAL-
        289   05/13/2005   DEFENSE RENEWED ORAL MOTION; DEFENSE RENEWED ORAL MOTION
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        287   05/13/2005   RESERVED. CHARGE CONFERENCE; RESERVED. CHARGE CONFERENCE
        286   05/13/2005   JUDGMENT OF ACQUITAL RULING; JUDGMENT OF ACQUITAL RULING
        285   05/13/2005   DEFENSE RENEWS ORLA MOTION FOR; DEFENSE RENEWS ORAL MOTION FOR
        284   05/13/2005   IN FULL.; IN FULL.
        283   05/13/2005   STATE'S REBUTTAL CASE TO JURY; STATE'S REBUTTAL CASE TO JURY
        282   05/13/2005   DEFENSE RESTS; DEFENSE RESTS
        281   05/13/2005   BY DEFENSE; BY DEFENSE
        280   05/13/2005   EVIDENCE TO JURY IN FULL
        279   05/13/2005   MISTRIAL-DENIED; MISTRIAL-DENIED
        278   05/13/2005   DEFENSE ORAL MOTION FOR; DEFENSE ORAL MOTION FOR
        277   05/13/2005   BY DEFENSE; BY DEFENSE
        276   05/13/2005   EVIDENCE TO JURY IN PART
        275   05/13/2005   ATTY. FOR DEF. T. FALLIS, AND G. FALLIS; T. FALLIS, AND G. FALLIS
        274   05/13/2005   AND DANIEL SKINNER; AND DANIEL SKINNER
        273   05/13/2005   ASST. STATE ATTY. MIZRAHI, ALAN; 4; 1009; MIZRAHI; ALAN
        272   05/13/2005   PER RENEE; PER RENEE
        271   05/13/2005   PASSED FOR TRIAL 05/16/2005 7 09:00 00; PASSED FOR TRIAL; 05/16/2005; 7; 09:00; 00
        270   05/12/2005   PASSED FOR TRIAL 05/13/2005 7 08:30 00; PASSED FOR TRIAL; 05/13/2005; 7; 08:30; 00
        269   05/12/2005   PART; PART
        268   05/12/2005   EVIDENCE TO JURY BY DEFENSE IN; EVIDENCE TO JURY BY DEFENSE IN
        267   05/12/2005   JUDGMENT OF ACQUITAL-DENIED; JUDGMENT OF ACQUITAL-DENIED
        266   05/12/2005   DEFT'S. ORAL MOTION FOR; DEFT'S. ORAL MOTION FOR
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        264   05/12/2005   ATTY. FOR DEF. TOM FALLIS AND G. FALLIS; TOM FALLIS AND G. FALLIS
        263   05/12/2005   AND A. MIZRAHI; AND A. MIZRAHI
        262   05/12/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        261   05/12/2005   PER RENEE FROM COURTROOM; PER RENEE FROM COURTROOM
        260   05/12/2005   PASSED FOR TRIAL 05/13/2005 7 10:30 00; PASSED FOR TRIAL; 05/13/2005; 7; 10:30; 00
        259   05/11/2005   PASSED FOR TRIAL 05/12/2005 7 10:30 00; PASSED FOR TRIAL; 05/12/2005; 7; 10:30; 00
        258   05/11/2005   STIPULATION FILED; STIPULATION FILED                                                 3
        257   05/11/2005   BY STATE. STATE RESTS; BY STATE. STATE RESTS
        256   05/11/2005   EVIDENCE TO JURY IN FULL
        255   05/11/2005   ATTY. FOR DEF. TOM FALLIS AND G. FALLIS; TOM FALLIS AND G. FALLIS
        254   05/11/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        253   05/11/2005   PASSED FOR TRIAL 05/12/2005 7 10:30 00; PASSED FOR TRIAL; 05/12/2005; 7; 10:30; 00
        252   05/10/2005   STIPILATION AND AGREEMENT; STIPILATION AND AGREEMENT
        251   05/10/2005   AND GRANTED; AND GRANTED
        250   05/10/2005   LIMINE, FILED, ORDER ENTERED; LIMINE, FILED, ORDER ENTERED
        249   05/10/2005   STATE'S SECOND MOTION IN; STATE'S SECOND MOTION IN                                   3
        248   05/10/2005   FILED, ORDER ENTERED, GRANTED; FILED, ORDER ENTERED, GRANTED
        247   05/10/2005   STATE'S FIRST MOTION IN LIMINE; STATE'S FIRST MOTION IN LIMINE                       3
        246   05/10/2005   BY STATE; BY STATE
        245   05/10/2005   EVIDENCE TO JURY IN PART
        244   05/10/2005   OPENING STATEMENTS IN FULL; OPENING STATEMENTS IN FULL
        243   05/10/2005   COURTS INSTRUCTIONS TO JURY; COURTS INSTRUCTIONS TO JURY
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         #      Date
        242   05/10/2005   JURY EMPANELLED & SWORN
        241   05/10/2005   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        240   05/10/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        239   05/10/2005   PER GAIL; PER GAIL
        238   05/10/2005   PASSED FOR TRIAL 05/11/2005 7 10:30 00; PASSED FOR TRIAL; 05/11/2005; 7; 10:30; 00
        237   05/09/2005   AND EMPANELLED; AND EMPANELLED
        236   05/09/2005   JURY SELECTED
        235   05/09/2005   DENIED; DENIED
        234   05/09/2005   TO EXCLUDE ADMISSION OF VIDEO-; TO EXCLUDE ADMISSION OF VIDEO-
        233   05/09/2005   DEFT'S. ORAL MOTION IN LIMINE; DEFT'S. ORAL MOTION IN LIMINE
        232   05/09/2005   ATTY. FOR DEF. TOM FALLIS AND G. FALLIS; TOM FALLIS AND G. FALLIS
        231   05/09/2005   AND A. MIZRAHI; AND A. MIZRAHI
        230   05/09/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        229   05/09/2005   PASSED FOR TRIAL 05/10/2005 7 10:30 00; PASSED FOR TRIAL; 05/10/2005; 7; 10:30; 00
        228   05/05/2005   JURY SELECTION 05/09/2005 7 09:00 00; JURY SELECTION; 05/09/2005; 7; 09:00; 00
        227   05/05/2005   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        226   05/05/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        225   05/02/2005   PER JANICE; PER JANICE
        224   05/02/2005   FINAL PRE-TRIAL 05/05/2005 6 09:00 00; FINAL PRE-TRIAL; 05/05/2005; 6; 09:00; 00
        223   05/02/2005   PRAE, FOR WITNESS SUBPOENA- S; S                                                     1
        222   02/25/2005   TRIAL DATE - 05/09/2005; 05/09/2005
        221   02/25/2005   PER JUDICIAL ASST.; PER JUDICIAL ASST.
        220   02/25/2005   FINAL PRE-TRIAL 05/03/2005 7 09:00 00; FINAL PRE-TRIAL; 05/03/2005; 7; 09:00; 00
                                                             33
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        219   02/11/2005   TRIAL DATE - 03/09/2005; 03/09/2005
        218   02/11/2005   FINAL PRE-TRIAL 03/03/2005 7 09:00 00; FINAL PRE-TRIAL; 03/03/2005; 7; 09:00; 00
        217   02/11/2005   DEFT. PRESENT IN JAIL; DEFT. PRESENT IN JAIL
        216   02/11/2005   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        215   02/11/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        214   02/08/2005   JURY SELECTION; JURY SELECTION                                                             2
        213   02/08/2005   PRAE, FOR WITNESS SUBPOENA- S; S
        212   02/08/2005   FINAL PRE-TRIAL 02/11/2005 7 09:00 00; FINAL PRE-TRIAL; 02/11/2005; 7; 09:00; 00
        211   02/08/2005   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        210   02/08/2005   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        209   02/02/2005   PRAE, FOR WITNESS SUBPOENA- S; S
        208   02/02/2005   DISCOVERY EXHIBIT; DISCOVERY EXHIBIT
        207   02/02/2005   STATE'S FOURTH AMENDED; STATE'S FOURTH AMENDED                                             2
        206   01/26/2005   DELETE 1/28/05 COURT DATE; DELETE 1/28/05 COURT DATE
        205   01/26/2005   PER JANICE, VIA E-MAIL. ALSO; PER JANICE, VIA E-MAIL. ALSO
        204   01/26/2005   FINAL PRE-TRIAL 02/08/2005 7 09:00 00; FINAL PRE-TRIAL; 02/08/2005; 7; 09:00; 00
        203   10/13/2004   TRIAL DATE - 02/14/2005; 02/14/2005
        202   10/13/2004   FINAL PRETRIAL DATE - 02/08/2005; 02/08/2005
                           PASSED FOR HEARING ON MOTION 01/28/2005 7 09:00 00; PASSED FOR HEARING ON
        201   10/13/2004
                           MOTION; 01/28/2005; 7; 09:00; 00
        200   10/13/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        199   10/13/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        198   09/29/2004   PASSED FOR PRETRIAL 10/13/2004 7 09:00 00; PASSED FOR PRETRIAL; 10/13/2004; 7; 09:00; 00

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        197   09/29/2004   CONTINUE TRIAL-GRANTED; CONTINUE TRIAL-GRANTED
        196   09/29/2004   DEFT'S ORAL MOTION TO; DEFT'S ORAL MOTION TO
        195   09/29/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        194   09/29/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        193   09/23/2004   FINAL PRE-TRIAL 09/29/2004 7 09:00 00; FINAL PRE-TRIAL; 09/29/2004; 7; 09:00; 00
        192   09/23/2004   DEFERRED; DEFERRED
        191   09/23/2004   CONTINUANCE TRIAL MADE, RULING; CONTINUANCE TRIAL MADE, RULING
        190   09/23/2004   DEFT'S ORAL MOTION TO; DEFT'S ORAL MOTION TO
        189   09/23/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        188   09/23/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        187   09/16/2004   PASSED FOR PRETRIAL 09/23/2004 7 09:00 00; PASSED FOR PRETRIAL; 09/23/2004; 7; 09:00; 00
        186   09/16/2004   ATTY. FOR DEF. TOM FALLIS/G. FALLIS; TOM FALLIS/G. FALLIS
        185   09/16/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        184   08/20/2004   TRIAL DATE - 10/04/2004; 10/04/2004
        183   08/20/2004   FINAL PRETRIAL DATE - 09/28/2004; 09/28/2004
        182   08/20/2004   PASSED FOR PRETRIAL 09/16/2004 7 09:00 00; PASSED FOR PRETRIAL; 09/16/2004; 7; 09:00; 00
        181   08/20/2004   CONTINUE TRIAL-GRANTED; CONTINUE TRIAL-GRANTED
        180   08/20/2004   DEFT'S ORAL MOTION TO; DEFT'S ORAL MOTION TO
        179   08/20/2004   ATTY. FOR DEF. TOM FALLIS/G. FALLIS; TOM FALLIS/G. FALLIS
        178   08/20/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        177   07/30/2004   PASSED FOR PRETRIAL 08/20/2004 7 09:00 00; PASSED FOR PRETRIAL; 08/20/2004; 7; 09:00; 00
        176   07/30/2004   ATTY. FOR DEF. TOM FALLIS/G. FALLIS; TOM FALLIS/G. FALLIS
        175   07/30/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
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        174   07/23/2004   PASSED FOR PRETRIAL 07/30/2004 7 09:00 00; PASSED FOR PRETRIAL; 07/30/2004; 7; 09:00; 00
        173   07/23/2004   DISCOVERY EXHIBIT-FILED; DISCOVERY EXHIBIT-FILED
        172   07/23/2004   STATE'S THIRD AMENDED; STATE'S THIRD AMENDED                                               2
        171   07/23/2004   DISCOVERY EXHIBIT-FILED; DISCOVERY EXHIBIT-FILED
        170   07/23/2004   STATE'S SECOND AMENDED; STATE'S SECOND AMENDED                                             1
        169   07/23/2004   DISCOVERY EXHIBIT FILED; DISCOVERY EXHIBIT FILED
        168   07/23/2004   STATE'S FIRST AMENDED; STATE'S FIRST AMENDED                                               2
        167   07/23/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        166   07/23/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        165   06/18/2004   TRIAL DATE - 08/30/2004; 08/30/2004
        164   06/18/2004   FINAL PRETRIAL DATE - 08/24/2004; 08/24/2004
        163   06/18/2004   PASSED FOR PRETRIAL 07/23/2004 7 09:00 00; PASSED FOR PRETRIAL; 07/23/2004; 7; 09:00; 00
        162   06/18/2004   CONTINUANCE - GRANTED; CONTINUANCE - GRANTED
        161   06/18/2004   JOINT ORAL MOTION FOR; JOINT ORAL MOTION FOR
        160   06/18/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        159   06/18/2004   AND A. CORY; AND A. CORY
        158   06/18/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        157   04/01/2004   TRIAL DATE - 06/28/2004; 06/28/2004
        156   04/01/2004   FINAL PRE-TRIAL 06/18/2004 7 09:00 00; FINAL PRE-TRIAL; 06/18/2004; 7; 09:00; 00
        155   04/01/2004   CONTINUANCE-GRANTED; CONTINUANCE-GRANTED
        154   04/01/2004   JOINT ORAL MOTION FOR; JOINT ORAL MOTION FOR
        153   04/01/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        152   04/01/2004   MOT. TO COMPEL
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        151   03/30/2004   PRAE, FOR WITNESS SUBPOENA- S; S                                                           1
        150   03/19/2004   WITNESS SUBPOENA(S) FOR D; D                                                               2
                           PASSED FOR HEARING ON MOTION 04/01/2004 7 09:00 00; PASSED FOR HEARING ON
        149   03/18/2004
                           MOTION; 04/01/2004; 7; 09:00; 00
        148   03/18/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        147   03/18/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        146   03/05/2004   FINAL PRETRIAL DATE - 04/06/2004; 04/06/2004
                           PASSED FOR HEARING ON MOTION 03/18/2004 7 09:00 00; PASSED FOR HEARING ON
        145   03/05/2004
                           MOTION; 03/18/2004; 7; 09:00; 00
        144   03/05/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        143   03/05/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        142   01/14/2004   3-12-04 EVID. HEARING; 3-12-04 EVID. HEARING
        141   01/14/2004   NON EVID. HEARING; NON EVID. HEARING
        140   01/14/2004   NOTICE OF HEARING 03/05/2004 7 09:00 00; NOTICE OF HEARING; 03/05/2004; 7; 09:00; 00
        139   01/14/2004   DEF. PRESENT
        138   01/14/2004   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        137   01/14/2004   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        136   12/15/2003   TRIAL DATE - 04/12/2004; 04/12/2004
        135   12/15/2003   FINAL PRETRIAL DATE - 03/05/2004; 03/05/2004
        134   12/15/2003   PASSED FOR PRETRIAL 01/14/2004 7 09:00 00; PASSED FOR PRETRIAL; 01/14/2004; 7; 09:00; 00
        133   12/15/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        132   12/15/2003   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        131   11/12/2003   PASSED FOR PRETRIAL 12/15/2003 9 09:00 00; PASSED FOR PRETRIAL; 12/15/2003; 9; 09:00; 00

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        130   11/12/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        129   11/12/2003   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        128   09/03/2003   TRIAL DATE - 12/15/2003; 12/15/2003
        127   09/03/2003   FINAL PRETRIAL DATE - 12/11/2003; 12/11/2003
                           PASSED FOR HEARING ON MOTION 11/12/2003 9 09:00 00; PASSED FOR HEARING ON
        126   09/03/2003
                           MOTION; 11/12/2003; 9; 09:00; 00
        125   09/03/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        124   09/03/2003   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        123   08/07/2003   PASSED FOR PRETRIAL 09/03/2003 9 09:00 00; PASSED FOR PRETRIAL; 09/03/2003; 9; 09:00; 00
        122   08/07/2003   GRANTED - ORDER ENTERED; GRANTED - ORDER ENTERED
        121   08/07/2003   OF TRANSCRIPTS - FILED -; OF TRANSCRIPTS - FILED -                                         3
        120   08/07/2003   DEFENDANT'S MOTION FOR COSTS; DEFENDANT'S MOTION FOR COSTS
        119   08/07/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        118   08/07/2003   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        117   08/07/2003   A. COREY, FOR; A. COREY, FOR
        116   07/10/2003   PASSED FOR PRETRIAL 08/07/2003 9 09:00 00; PASSED FOR PRETRIAL; 08/07/2003; 9; 09:00; 00
        115   07/10/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        114   07/10/2003   ASST. STATE ATTY. SKINNER, DANIEL; 4; 1069; SKINNER; DANIEL
        113   06/25/2003   PASSED FOR PRETRIAL 07/10/2003 9 09:00 00; PASSED FOR PRETRIAL; 07/10/2003; 9; 09:00; 00
        112   06/25/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        111   06/25/2003   ASST. STATE ATTY. PARKER, DIEDRE; 4; 1375; PARKER; DIEDRE
        110   06/12/2003   MOTION FOR COST OF TRANSCRIPTS; MOTION FOR COST OF TRANSCRIPTS                             1
        109   06/06/2003   2 FILED; 2 FILED

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        108   06/06/2003   WITNESS SUBPOENA(S) FOR D; D                                                               3
        107   06/03/2003   PASSED FOR PRETRIAL 06/25/2003 9 09:00 00; PASSED FOR PRETRIAL; 06/25/2003; 9; 09:00; 00
        106   06/03/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        105   06/03/2003   ASST. STATE ATTY. PARKER, DIEDRE; 4; 1375; PARKER; DIEDRE
        104   05/15/2003   WITNESS SUBPOENA(S) FOR DEPOSITION ISSUED D; D                                             2
        103   05/07/2003   (2) FILED; (2) FILED
        102   05/07/2003   WITNESS SUBPOENA(S) FOR DEPOSITION ISSUED D; D                                             19
        101   05/07/2003   (5) FILED; (5) FILED
        100   05/07/2003   WITNESS SUBPOENA(S) FOR DEPOSITION ISSUED D; D
        99    04/30/2003   PASSED FOR PRETRIAL 06/03/2003 9 09:00 00; PASSED FOR PRETRIAL; 06/03/2003; 9; 09:00; 00
        98    04/30/2003   CONTINUANCE - GRANTED; CONTINUANCE - GRANTED
        97    04/30/2003   DEFENDANT MOTION FOR; DEFENDANT MOTION FOR                                                 2
        96    04/30/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        95    04/30/2003   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        94    04/21/2003   FINAL PRE-TRIAL 04/30/2003 9 09:00 00; FINAL PRE-TRIAL; 04/30/2003; 9; 09:00; 00
        93    04/21/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        92    04/21/2003   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        91    04/07/2003   PASSED FOR PRETRIAL 04/21/2003 9 09:00 00; PASSED FOR PRETRIAL; 04/21/2003; 9; 09:00; 00
        90    04/07/2003   PRESIDING; PRESIDING
        89    04/07/2003   HONORABLE JUDGE WATSON,; HONORABLE JUDGE WATSON,
        88    04/07/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        87    04/07/2003   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        86    03/11/2003   TRIAL DATE - 05/19/2003; 05/19/2003
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        85    03/11/2003   TRIAL DATE - 05/12/2003; 05/12/2003
        84    03/11/2003   TRIAL DATE - 05/05/2003; 05/05/2003
        83    03/11/2003   FINAL PRETRIAL DATE - 04/28/2003; 04/28/2003
                           PASSED FOR HEARING ON MOTION 04/07/2003 9 09:00 00; PASSED FOR HEARING ON
        82    03/11/2003
                           MOTION; 04/07/2003; 9; 09:00; 00
        81    03/11/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        80    03/11/2003   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        79    02/19/2003   PASSED FOR PRETRIAL 03/11/2003 9 09:00 00; PASSED FOR PRETRIAL; 03/11/2003; 9; 09:00; 00
        78    02/19/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        77    02/19/2003   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        76    01/08/2003   TRIAL DATE - 05/05/2003; 05/05/2003
        75    01/08/2003   HEAR. ON MOTION 4/7/03 09 9:00; HEAR. ON MOTION 4/7/03 09 9:00
        74    01/08/2003   PASSED FOR PRETRIAL 02/19/2003 9 09:00 00; PASSED FOR PRETRIAL; 02/19/2003; 9; 09:00; 00
        73    01/08/2003   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        72    01/08/2003   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        71    12/03/2002   (3) FILED; (3) FILED
        70    12/03/2002   WITNESS SUBPOENA(S) FOR DEPOSITION ISSUED D; D                                             16
        69    11/25/2002   PASSED FOR PRETRIAL 01/08/2003 9 09:00 00; PASSED FOR PRETRIAL; 01/08/2003; 9; 09:00; 00
        68    11/25/2002   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        67    11/25/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        66    10/31/2002   PASSED FOR PRETRIAL 11/25/2002 9 09:00 00; PASSED FOR PRETRIAL; 11/25/2002; 9; 09:00; 00
        65    10/31/2002   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        64    10/31/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA

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        63    10/24/2002   (5) FILED; (5) FILED
        62    10/24/2002   SUBPOENA FOR DEPOSITION; SUBPOENA FOR DEPOSITION
        61    10/07/2002   PASSED FOR PRETRIAL 10/31/2002 9 09:00 00; PASSED FOR PRETRIAL; 10/31/2002; 9; 09:00; 00
        60    10/07/2002   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        59    10/07/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        58    09/30/2002   SEPTEMBER 17, 2002; SEPTEMBER 17, 2002
        57    09/30/2002   TRANSCRIPT OF PROCEEDINGS OF; TRANSCRIPT OF PROCEEDINGS OF                                 8
        56    09/19/2002   PASSED FOR PRETRIAL 10/07/2002 9 09:00 00; PASSED FOR PRETRIAL; 10/07/2002; 9; 09:00; 00
        55    09/19/2002   ENTERED); ENTERED)
        54    09/19/2002   BODY SAMPLES - GRANTED (ORDER; BODY SAMPLES - GRANTED (ORDER
        53    09/19/2002   STATE'S MOTION TO COMPEL; STATE'S MOTION TO COMPEL
        52    09/19/2002   WAIVER OF SPEEDY TRIAL                                                                     1
        51    09/19/2002   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        50    09/19/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        49    09/17/2002   MENTAL MITIGATION; MENTAL MITIGATION
        48    09/17/2002   STATEMENT OF PARTICULARS OF; STATEMENT OF PARTICULARS OF
        47    09/17/2002   PENALTY AND REQUEST FOR; PENALTY AND REQUEST FOR
        46    09/17/2002   NOTICE OF INTENT TO SEEK DEATH; NOTICE OF INTENT TO SEEK DEATH                             1
        45    09/17/2002   MOT. TO COMPEL BODY SAMPLES; TO COMPEL BODY SAMPLES                                        3
        44    09/17/2002   PASSED FOR PRETRIAL 09/19/2002 9 09:00 00; PASSED FOR PRETRIAL; 09/19/2002; 9; 09:00; 00
        43    09/05/2002   ARRAIGNMENT DATE 09/17/2002 9 09:00 00; ARRAIGNMENT DATE; 09/17/2002; 9; 09:00; 00
        42    09/05/2002   MURDER - 1; MURDER - 1; S; 78204(1)(A)
        41    09/05/2002   MURDER - 1; MURDER - 1; S; 78204(1)(A)
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        40    09/05/2002   INDICTMENT FILED FOR MURDER - 1; MURDER - 1; S; 78204(1)(A)                                2
        39    09/05/2002   PASSED FOR PRETRIAL 09/17/2002 9 09:00 00; PASSED FOR PRETRIAL; 09/17/2002; 9; 09:00; 00
        38    09/05/2002   ATTY. FOR DEF. TOM FALLIS; TOM FALLIS
        37    09/05/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        36    07/29/2002   RESPONSE TO DEMAND & DEMAND FOR RECIPROCAL DISCOVERY                                       2
        35    07/19/2002   PASSED FOR PRETRIAL 09/05/2002 9 09:00 00; PASSED FOR PRETRIAL; 09/05/2002; 9; 09:00; 00
        34    07/19/2002   PURPOSES OF COSTS - FILED; PURPOSES OF COSTS - FILED
        33    07/19/2002   PARTIALLY INSOLVENT FOR; PARTIALLY INSOLVENT FOR
        32    07/19/2002   ORDER DECLARING DEFENDANT; ORDER DECLARING DEFENDANT                                       1
        31    07/19/2002   GRANTED; GRANTED
        30    07/19/2002   FOR PURPOSES OF COSTS -; FOR PURPOSES OF COSTS -
        29    07/19/2002   DEFENDANT PARTIALLY INSOLVENT; DEFENDANT PARTIALLY INSOLVENT
        28    07/19/2002   DEFENDANT'S MOTION TO DECLARE; DEFENDANT'S MOTION TO DECLARE                               1
        27    07/19/2002   PUB. DEF. PERMITTED TO W/DRAW AS COUNSEL FOR DEF.
        26    07/19/2002   ATTY. FOR DEF. GEORGE FALLIS; GEORGE FALLIS
        25    07/19/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        24    07/11/2002   COMMITMENT CHECKLIST; COMMITMENT CHECKLIST                                                 1
        23    07/11/2002   NOTICE OF APPEARANCE; NOTICE OF APPEARANCE                                                 1
        22    07/11/2002   TO PARTICIPATE IN DISCOVERY; TO PARTICIPATE IN DISCOVERY
        21    07/11/2002   NOTICE OF DEFENDANT'S INTENT; NOTICE OF DEFENDANT'S INTENT                                 4
        20    06/19/2002   PASSED FOR PRETRIAL 07/19/2002 9 09:00 00; PASSED FOR PRETRIAL; 07/19/2002; 9; 09:00; 00
        19    06/19/2002   DEF. W/READING OF INFO & PLEAD NG; NG
        18    06/19/2002   MOT. FOR STATEMENT OF PARTICULARS                                                          2
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        17    06/19/2002   NOTICE OF DISCOVERY                                                                  1
        16    06/19/2002   ASST. PUB. DEF. CHIPPERFIELD, ALAN; 3; 24; CHIPPERFIELD; ALAN
        15    06/19/2002   ASST. STATE ATTY. COREY, ANGELA; 4; 170; COREY; ANGELA
        14    06/14/2002   ARRAIGNMENT DATE 06/19/2002 9 09:00 00; ARRAIGNMENT DATE; 06/19/2002; 9; 09:00; 00
        13    06/14/2002   AFFIDAVIT FOR ARREST WARRANT/ARREST WARRANT
        12    06/14/2002   CORRECTED INFORMATION MEMO FROM STATE ATTY.                                          2
        11    06/14/2002   BOND SET AT 0.00; 0.00
        10    06/14/2002   MURDER - 1; MURDER - 1; S; 78204(1)(A)
        9     06/14/2002   MURDER - 2ND DG; MURDER - 2ND DG; S; 78204(2)
        8     06/14/2002   INFO FILED FOR MURDER - 2ND DG; MURDER - 2ND DG; S; 78204(2)                         2
        7     05/28/2002   PD APP FEE IMPOSED 40.00; PD APP FEE; IMPOSED; 40.00
        6     05/28/2002   MOTION ON BOND                                                                       1
        5     05/28/2002   FINDING OF PROBABLE CAUSE ,                                                          1
        4     05/28/2002   DEFENDANTS CLAIM OF RIGHTS                                                           1
        3     05/28/2002   ORDER DETERM. ELIGIBILITY FOR COURT APPOINTED COUNSEL
        2     05/28/2002   APPLICATION FOR PUB. DEF. AND AFFIDAV. OF INSOLVENCY                                 1
        1     05/28/2002   ARREST & BOOKING REPORT 020183753; 020183753; 404.04                                 5




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